UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)

RAS CITRON, LLC
130 Clinton Road, Suite 202
Fairfield, New Jersey 07004
Telephone Number: 973-575-0707
Attorneys for Secured Creditor PHH MORTGAGE
CORPORATION

Harold Kaplan ( HK0226)


                                                                  Case No.:    17-21500-ABA
In Re:
                                                                  Chapter:       13
Josette M. Garrett,
                                                                  Hearing Date: July 28, 2020
         Debtor,                                                  Judge:       Andrew B. Altenburg Jr.

Readus D. Garrett,

         Joint Debtor.


NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY AND CO-DEBTOR
                          STAY RELIEF

                                    HEARING DATE AND TIME:
                                      July 28,, 2020 at 10:00 a.m.

                    ORAL ARGUMENT IS REQUESTED IN THE EVENT
                           OPPOSITION IS TIMELY FILED
TO:

Debtor(s)-                    Debtor’s Attorney-       Trustee-                 U.S. Trustee-
Josette M. Garrett            Brad J. Sadek            Isabel C. Balboa         US Dept of Justice
223 Swedes Run Drive          Sadek and Cooper         Chapter 13 Standing      Office of the US
Riverside, NJ 08075           1315 Walnut Street       Trustee                  Trustee
Joint Debtor-                 Ste 502                  Cherry Tree Corporate    One Newark Center Ste
Readus D. Garrett             Philadelphia, PA 19107   Center                   2100
223 Swedes Run Drive                                   535 Route 38 - Suite     Newark, NJ 07102
Riverside, NJ 08075                                    580
                                                       Cherry Hill, NJ 08002


                                                                                           17-21500-ABA
                                                                                                19-406806
                                                                                          Notice of Motion
          PLEASE TAKE NOTICE that on July 28, 2020, at 10:00 a.m., or as soon thereafter as

counsel may be heard, RAS CITRON, LLC, attorneys for PHH MORTGAGE CORPORATION,

the within creditor ("Creditor"), shall move before the Honorable Andrew B. Altenburg Jr.,

United States Bankruptcy Judge, at Mitchell H. Cohen U.S. Courthouse, 400 Cooper Street, 4th

Floor, Camden, N.J. 08101, Courtroom 4B, for an Order pursuant to 11 U.S.C. §362(d)(1)

granting such Creditor relief from automatic stay and Co-Debtor Stay pursuant to 11 U.S.C.

§1301 (c) or, for costs and disbursements of this action, and for such other and further relief as to

the Court may seem just and proper.

          PLEASE TAKE FURTHER NOTICE that in support of the Motion, the undersigned

shall rely on the accompanying Certification in Support of Motion for Relief. A proposed form

of Order is also being submitted. A Memorandum of Law has not been submitted because the

issues raised by the Motion are not extraordinary or unusual necessitating the filing of legal

briefs.

          PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief requested in the

Motion shall: (i) be in writing; (ii) specify with particularity the basis of the objection; and (iii)

be filed with the CLERK, UNITED STATES BANKRUPTCY COURT, U.S. Post Office

and Courthouse, 401 Market Street, Camden, NJ 08101, and simultaneously served on

Secured Creditor's counsel, RAS CITRON, LLC, 130 Clinton Road, Suite 202, Fairfield,

New Jersey 07004, so as to be received no later than seven (7) days before the return date set

forth herein.

          PLEASE TAKE FURTHER NOTICE that unless objections are timely filed and served,

the Motion shall be deemed uncontested in accordance with D.N.J. LBR 9013-1(a) and the relief

requested may be granted without a hearing.

                                                                                          17-21500-ABA
                                                                                               19-406806
                                                                                         Notice of Motion
       PLEASE TAKE FURTHER NOTICE that counsel hereby requests oral argument in

accordance with D.N.J. LBR 9013-1 (f) in the event opposition papers are timely filed.

 DATED: 7/7/2020
                                                  RAS Citron, LLC
                                                  130 Clinton Road, Lobby B, Suite 202
                                                  Fairfield, NJ 07004
                                                  Telephone: 973-575-0707
                                                  Facsimile: 973-404-8886
                                                  By: /s/ Harold Kaplan
                                                  Harold Kaplan, Esquire
                                                  Bar ID: HK0226
                                                  Email: hkaplan@rasnj.com




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                                                                                     Notice of Motion
